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UNITED STATES DISTRICT COURT                                                                   3/1/2021
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
RAFAEL BLANCO,                                                 :
                                                               :
                                    Plaintiff,                 :   ORDER SCHEDULING
                                                               :   SETTLEMENT CONFERENCE
                  -v-                                          :
                                                               :   20-CV-1709 (KPF) (JLC)
                                                               :
CHEESECAKE FACTORY RESTAURANTS                                 :
INC.,                                                          :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        By Order of Reference dated February 4, 2021 (Dkt. No. 17), Judge Failla referred this

case to me for settlement. The parties and the Court conferred, and agreed that the conference

will be held before me on April 16, 2021 at 10:00 a.m. Unless circumstances permit otherwise,

the conference will be held by telephone rather than in person. Counsel should contact chambers

using the Court’s conference line, (877) 873-8017 (Access Code: 5277586). Using the

conference line system, the Court will begin the settlement conference in joint session with all

parties on the line before breaking into private session and speaking to the parties individually, as

the technology the Court is using should be able to facilitate breakout sessions with each side. If

the parties wish to provide a different platform for the settlement conference (such as Zoom,

Skype, or the equivalent) and not simply proceed telephonically they may so advise the Court

and the Court will then schedule a conference to discuss logistics.

        The Court’s “Standing Order for All Cases Referred for Settlement to Magistrate Judge

James L. Cott” is enclosed and is incorporated herein by reference. Please read the Standing

Order carefully. Failure to comply with the Standing Order may result in sanctions. The

parties are directed to pay particular attention to paragraph 5, which sets forth who must appear
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at the conference on behalf of a corporate party. The parties should also note that paragraph 3 of

the Standing Order requires ex parte written submissions to be made five (5) business days prior

to the conference, in this case April 9, 2021 by 5:00 p.m. Paragraph 4 requires that a copy of

the Acknowledgment Form be submitted to opposing parties and another copy be submitted to

the Court together with the ex parte settlement letter. Each party must include the name and

telephone number of each participant on the Acknowledgement Form. Pursuant to the

instructions in the Standing Order, the parties should email these materials to

CottNYSDChambers@nysd.uscourts.gov. No courtesy copies need to be mailed to chambers.

       Finally, Paragraph 3 of the Standing Order requires that if plaintiff has not already made

a demand, he must do so no later than 14 days prior to the conference, and defendant shall

respond no later than 7 days thereafter. Even if plaintiff has made a demand as part of a court-

ordered or private mediation previously attended by the parties, plaintiff is still required to make

(or renew) a demand 14 days prior to the conference, and defendant must respond within 7 days.

In other words, the parties should not wait for the settlement conference in order to commence

negotiations of a resolution of their dispute.

       SO ORDERED.

Dated: March 1, 2021
       New York, New York




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                                                         Revised September 6, 2013

               Standing Order for All Cases Referred for Settlement
                       to Magistrate Judge James L. Cott

     Chambers                                   Courtroom
     500 Pearl Street, Room 1360                500 Pearl Street, Room 21-D
     United States Courthouse                   United States Courthouse
     New York, NY 10007                         Southem District of New York
     Telephone: (212) 805-0250                  New York, NY 10007
     Facsimile: (212) 805-7990
     CottNYSDChambers@nysd.uscourts.gov

               "You never really understand a person until you consider
               things from his point of view - until you climb into his
               skin and walk around in it." (Atticus Finch in To Kill A
               Mockingbird)

Introduction

        The Court believes the parties should fully explore settlement at the earliest
practical opportunity. Early consideration of settlement allows the parties to
avoid the substantial cost, expenditure of time, and uncertainty that are typically
a part of the litigation process. Even for those cases that cannot be resolved, early
consideration of settlement can provide the parties with a better understanding of
the factual and legal nature of their dispute and streamline the issues to be
litigated.

       Consideration of settlement is a serious matter that requires thorough
preparation prior to the settlement conference. It also requires the earnest
consideration of the other side's point of view, as the quote above suggests. Set
forth below are the procedures the Court will require the parties and counsel to
follow and the procedures the Court typically will employ in conducting the
conference.

1.    Confidential Nature of Conference. All settlement conferences are "off the
      record." All communications relating to settlement are strictly confidential
      and may not be used for any purpose. They are not to be used in discovery
      and will not be admissible at trial.

2.    Magistrate Judge's Role. The magistrate judge functions as a mediator,
      attempting to help the parties reach a settlement. Efficient use of this
      process requires that counsel and their clients be (a) prepared for the
      conference, and (b) candid with the mediator.
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3.    Ex Parte Settlement Letter. Unless otherwise ordered by the Court, no later
      than five (5) business days before the conference, counsel for each party
      must send the Court bye-mail a letter, marked "Confidential Material for
      Use Only at Settlement Conference," which should not be served on the
      other parties. The letter should be sent to
      CottNYSDChamberS@nysd.uscourts.gov. 1 This ex parte letter must not
      exceed ten (10) pages, unless permission to do so has been granted by the
      Court. The letter should include, at a minimum, the following: (a) the
      history of settlement negotiations, if any, including any prior offers or
      demands; (b) your evaluation of the settlement value of the case and the
      rationale for it; (c) any case law authority in support of your settlement
      position; and (d) any other facts that would be helpful to the Court in
      preparation for the conference. 2 The reason the letter is to be submitted ex
      parte is to ensure that counsel are candid with the Court as to the
      strengths and weaknesses of their case, and to provide a realistic
      assessment of the litigation risks each party faces were the case to be
      resolved on the merits.

      If the plaintiff has not already made a settlement demand, such a demand
      shall be communicated to the opposing party no later than 14 days prior to
      the conference. If it has not already done so, the opposing party shall
      respond to any demand no later than 7 days thereafter. The parties should
      not wait for the settlement conference to commence negotiations of a
      resolution of their dispute.

4.    Acknowledgment Form. Counsel shall complete the Acknowledgment Form
      that appears following this Standing Order. This Form must be submitted
      at the same time as the Ex Parte Settlement Letter bye-mail to
      CottNYSDChamberS@nysd.uscourts.gov as a .pdf attachment with a copy
      simultaneously e-mailed to all counsel of record who will be participating in
      the settlement conference. No hard copy of the Acknowledgment Form
      needs to be sent to the Court. 3



             If a party is not able to send the letter bye-mail, it may, with prior
approval of Chambers, fax the letter.

      2      If a letter is accompanied by attachments exceeding 10 pages in
length, the submitting party shall hand deliver a hard copy of the letter plus
attachments to the Court, consistent with Rule LD. of the Court's Individual
Practices.

             To be crystal clear, the Court expects a party to send the Ex Parte
Settlement Letter in one e-mail just to the Court, and to send a separate e-mail to
the Court, copying all other counsel, with the Acknowledgment Form.

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5.   Attendance of Parties Required. The parties - not just the attorneys - must
     attend in person. A party's attendance is essential to the settlement
     process. It is vital that parties hear the other side's presentation and have
     the opportunity to speak with the mediator outside the presence of any
     adversary. If a party resides more than 100 miles from the Courthouse and
     it would be a great hardship for the party to attend in person, upon written
     application in advance of the conference in the form of a letter-motion to be
     filed on ECF, I will sometimes excuse that party's presence but I will require
     that party to be available by telephone throughout the settlement
     conference. Each party must supply its own simultaneous interpreter (who
     need not have any special certification), if required. The Court does not
     provide interpreters for settlement conferences.

     Corporate parties or labor unions must send the person with decision­
     making authority who gives directions to counsel of record (not someone
     who has received settlement authority from someone else). Where liability
     insurance is involved, a decision-making representative of each carrier
     must attend in addition to the insured. This includes each excess carrier
     unless specifically excused by the Court at least one week before the
     conference. Because it is important that the decision-makers with respect
     to settlement hear their adversaries' presentations and be available to
     answer questions from the Court, the person who attends must be the
     person with responsibility for determining the amount of any ultimate
     settlement and who has not had limitations placed by another person with
     respect to his or her authority to settle. That is, corporate parties. labor
     unions. and insurance companies (or any other party that is not a natural
     person) must send to the conference the person ultimately responsible for
     giving settlement authority, not someone who has received authority from
     someone else.

     Where any government agency is a party. counsel of record must be
     accompanied by a knowledgeable representative from the agency (or, if the
     agency official with knowledge is more than 100 miles from the Courthouse,
     the official must be available to participate by telephone). In addition, in
     cases where the Comptroller of the City of New York has authority over
     settlement, the Assistant Corporation Counsel must make arrangements in
     advance of the conference for a representative of the Comptroller either to
     attend the conference or to be available by telephone to approve any
     proposed settlement.

6.   Consequences of Non-Compliance with Attendance Requirements. If a
     party fails to come to the settlement conference with all the required
     persons (attorney, plus a decision-making employee from the client, plus a
     decision-making representative from each insurance carrier), that party



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     may be required to reimburse all the other parties for their time and travel
     expenses, and may face other sanctions.

7.   Conference Procedures. Unless advised otherwise by the Court, the
     conference will take place in Courtroom 21 D at 500 Pearl Street. At the
     outset of the mediation, each attorney should be prepared to make a brief
     presentation in the presence of each other and the parties, summarizing not
     merely a party's positions, but the party's interests as welL Written
     remarks read aloud are usually ineffective. Counsel are also reminded not
     to treat their opening remarks as if they were the equivalent of a jury
     address. While there is no formula for the most effective presentation,
     counsel should consider addressing (a) the most important issues of fact
     and law, (b) the most recent offer or demand communicated to opposing
     counsel, and (c) any other matters that may help to advance settlement.
     The merits of the case are obviously relevant to the value of a potential
     settlement, but settlement conferences are not the place to make legal
     arguments. Discussion, if any, of legal issues should be offered solely in
     the context of settlement, not litigation. Counsel should gear their
     presentation to the opposing party, not the Court.

     Following the presentations, the Court will, in some circumstances, allow
     counsel to respond to points made by opposing counsel and, if appropriate,
     to pose constructive questions. Clients may speak too if so desired. The
     Court encourages all parties to keep an open mind in order to re-assess
     their previous positions and to discover creative means for resolving the
     dispute.

     After the initial "joint session," in most mediations the Court will spend the
     rest of the time meeting separately with each side. In these private
     meetings, the parties and their counsel should be prepared to discuss their
     position on settlement, the reasons for their position, the amount of
     attorneys' fees and litigation expenses incurred to date, and an estimate of
     the remaining cost of litigating the case to judgment, including any appeal.

8.   Adjournments of Settlement Conferences. A party may make a written
     application by letter-motion filed on ECF consistent with Rule I.E. of the
     Court's Individual Practices to adjourn or advance the date of the
     settlement conference without providing cause as long as the application for
     a change in date is made at least two weeks prior to the scheduled
     conference date. Otherwise, counsel should set forth the reasons for
     seeking the change in date and must make the application by letter-motion
     as soon as counsel becomes aware of the need of or potential need for the
     change. In addition, the parties are required to seek a change in the date if
     (a) an adjournment would permit necessary discovery or exchange of
     information that would make the conference more fruitful, or (b) a client


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      who would otherwise be permitted to participate by telephone would be
      available to attend the conference were it held on another date. Requests
      for an adjournment on the eve of the scheduled settlement conference are
      strongly disfavored and not likely to be granted. In no circumstances will a
      telephone request for an adjournment be entertained.

      To seek a change in date, the party should first consult with all other
      counsel as to their and their clients' (and insurers' if applicable) availability
      on at least three dates. Counsel should thereupon contact Deputy Clerk
      David Tam at (212) 805-0250 between 10 a.m. and 4 p.m. to determine
      whether the Court is available for a settlement conference on any of those
      dates. The party must then file forthwith on ECF, as a letter-motion, a
      request to adjourn the settlement conference to the agreed-upon date and
      time. The conference date will not be deemed changed until Chambers
      receives the letter-motion and it is approved by the Court.

9.    Settlement in Advance of Mediation. If all parties advise the Court in
      writing that the case has settled prior to the scheduled conference, I will
      ordinarily adjourn the conference sine die. In these circumstances, the
      parties should file a letter-motion on ECF requesting an adjournment of the
      settlement conference sine die, and the Court will then issue a text-only
      order.

10.   No Effect on other Deadlines. The scheduling of a settlement conference
      has no effect on any deadlines or   er pending obligations in the case.

      SO ORDERED.



                                        Uni d States Magistrate Judge

Dated: New York, New York
      September 6, 2013




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ACKNOWLEDGMENT FORM                                                 (Revised July 6, 2020)

Complete this form (please print or type) or its equivalent, sign and date it, and send it by e-mail to
CottNYSDChambers@nysd.uscourts.gov as a .pdf attachment (for receipt no later than five business days
prior to the conference) (I) to all other attorneys who will be attending the conference and (2) to Judge
Cott. Please read the certifications below carefully as your signature indicates your compliance with
them.

Name of Case:
Docket Number:           _ Civ. _ (_J (JLC)
I acknowledge that my client and I must attend a settlement conference on ______, 20_ at
_:__.m. in Courtroom 21-D, United States Courthouse, 500 Pearl Street, New York, New York.

1.       I am attorney for _________________________
[state name of party/also state whether party is plaintiff or defendant].

                   (For corporate or other non-individual clients): The name of the representative of my
client who will attend the conference is: ____________________ . The
title of this representative is:____ ___________________

         If applicable (for insurance carrier): The name of the representative of the insurance carrier who
                             ------------------
will attend the conference is:

2.      CHECK ONE LINE BELOW:

        a.      __ The above-named individual will attend in person.

        b.      __ The above-named individual will attend by telephone because I certify that (1) such
                individual lives and works more than 100 miles from the Courthouse (or, if my client is
                not an individual, the client's decision-maker lives and works more than 100 miles from
                the Courthouse), and (2) it would be a great hardship for this individual to attend a
                settlement conference on this or any other date. This individual understands that he or
                she must participate by telephone without interruption for the duration of the conference.

3.      I certify that the person attending the conference (in person or by telephone) is the person with
        ultimate responsibility for determining the settlement amount: that is, the person responsible for
        giving settlement authority, not someone who has received authority from another person. In
        addition, if there is an insurance carrier with authority over settlement, a representative from such
        carrier with complete responsibility over settlement will be present in person or by telephone.

4.      I certify that I have read both the Court's Order scheduling this conference as well as the
        "Standing Order for All Cases Referred for Settlement to Magistrate Judge Cott."

Dated: ---


                                          [signature of attorney)


                                          [print attorney's name]

  Telephone number and name of each participant (for telephonic conferences):

             ________                                        _________

             ________                                        _________



                                                       6
